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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

 LORI STEVENS,                                Case No.: 4:16-cv-00530-DCN

               Plaintiff,                     ORDER RE:
                                              (1) STEVENS’S MOTION TO
  v.                                          HOLD TAMI STAPLES AKA
                                              TAMI LABRUM IN CONTEMPT;
 BRIGHAM YOUNG UNIVERSITY-                    (2) BYU-I’S MOTION TO
 IDAHO d/b/a BYU-Idaho, a Utah                COMPEL DISCOVERY
 Corporation,                                 RESPONSES FOR MEDICAL
                                              RECORDS;
               Defendant,                     (3) STEVENS’S MOTION TO
                                              COMPEL DISCOVERY
 THE CHURCH OF JESUS CHRIST OF                RESPONSES FOR TITLE IX
 LATTER-DAY SAINTS,                           RECORDS

               Intervener.

       The matter comes before the Court on three separate motions: (1) Lori Stevens’s

Motion to Hold Tami Staples AKA Tami Labrum in Contempt (Dkt. 90.); (2) Brigham

Young University-Idaho’s (“BYU-I”) Motion to Compel Discovery Responses for

Medical Records (Dkt. 100.); and (3) Stevens’s Motion to Compel Discovery Responses

for Title IX Records (Dkt. 101). Having reviewed the record and arguments made at the




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October 22, 2018 hearing, the Court (1) denies Stevens’s contempt motion as moot; (2)

grants, in part, BYU-I’s motion to compel; and (3) grants, in part, Stevens’s motion to

compel. The Court addresses each of these issues in turn.

       1.     Stevens’s Motion to Hold Tami Staples in Contempt

       Stevens’s counsel represented to the Court that Stevens’s motion is moot. Stevens

is resolving the issue with Ms. Staples through the United States District Court for

Western District of Washington. Therefore, the Court denies the motion (Dkt. 90) as

moot. Stevens may refile the motion at a later date, if necessary.

       2.     BYU-I’s Motion to Compel

       BYU-I filed a motion to compel discovery with regard to Interrogatory Nos. 34

and 41 and Request for Production No. 55. During oral argument, BYU-I represented

that the main issue in this motion to compel was whether Stevens had disclosed all of her

medical providers and corresponding documents. BYU-I’s counsel stated that this issue

could be resolved if Stevens provided a list of her medical providers.1 Stevens’s counsel

agreed to provide a list of Stevens’s known medical providers. With these concessions

and because Stevens is generally in the best position to identify her medical providers,




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 BYU-I’s Interrogatory No. 41 limits its request to “any and all mental health care providers,”
whereas Interrogatory No. 34 does not limit the request to mental health care providers.
Although this discrepancy was not addressed by the parties, the Court orders that Stevens shall
provide the names of any and all medical providers that diagnosed or treated Stevens’s mental or
emotional condition.




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BYU-I’s motion is granted, in part.2 Stevens is ordered to produce a list of all known

medical providers that have diagnosed or treated her for any mental or emotion condition

she put at issue in this case. Stevens shall also produce any corresponding documents,

which have not already been obtained by or produced to BYU-I.

       3.      Stevens’s Motion to Compel

       Stevens filed a motion to compel discovery with regard to Interrogatory Nos. 17

and 18 and Request for Production No. 17. In Stevens’s Title IX claim, she is required to

prove that BYU-I’s response to Stevens’s discrimination claim amounted to deliberative

indifference to that discrimination. Stevens represented to the Court that BYU-I does not

have a standard policy for misconduct between a faculty member and a student.

Although BYU-I’s policy generally requires that sexual misconduct must be reported to

the Title IX Coordinator, this policy is not always applied. BYU-I did not contest this

assertion. Absent a lack of a consistent policy on how faculty-student misconduct is

reported and investigated, Stevens cannot simply depose BYU-I’s Title IX employees

and compare the actions taken by BYU-I in Stevens’s particular case against BYU-I’s

policies and Title IX’s requirements to prove deliberate indifference on this occasion. Cf.

Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 292 (1998) (noting that the


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  BYU-I’s motion to compel also requested dates of diagnosis, detailed information on her
conditions, and treatment she has received. BYU-I did not renew this request at oral argument.
To the extent that BYU-I still seeks this information, it is denied. The information can be found
in the medical records. Because Stevens has been seeking medical care for these conditions for
over 20 years, the burden of ascertaining this information is substantially the same for either
party.




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defendant’s failure to comply with regulations does not establish deliberate indifference).

Stevens must establish that BYU-I’s response “amount[ed] to deliberate indifference.”

Id. at 290. This standard requires that Stevens prove BYU-I’s “response to the

harassment [was] clearly unreasonable in light of the known circumstances.” Davis Next

Friend LaShonda D. v. Monroe Cty. Bd. of Educ., 526 U.S. 629, 648 (1999). It is not

enough if the response was merely “negligent, lazy, or careless.” See Oden v. N.

Marianas Coll., 440 F.3d 1085, 1089 (9th Cir. 2006).

       Where, as here, BYU-I asserts that (1) the allegations did not rise to a level

requiring a Title IX report and (2) the Social Work Department’s investigation

appropriately handled the alleged misconduct, other Title IX reports are relevant in

determining whether BYU-I’s actions in this matter were at a minimum consistent with

other similar situations. However, Stevens requested the identification of all reports and

investigations and the production of all reports from BYU-I’s Title IX office from

January 2010 to present. (Dkt. 101, Ex. A, B.) The Court does not find that all

investigations and reports of misconduct are relevant to Stevens’s Title IX claim.

Therefore, the Court limits discovery to those reports and investigations related to

misconduct between a faculty member or employee and a student.

       The Court also finds that Stevens’s request for other Title IX investigations and

reports (as limited by the Court) will not cause an undue burden or expense to BYU-I.

Whether a request is unduly burdensome turns on the particular facts of the case, bearing

in mind the request’s relevance, the request’s breadth, and the request’s particularity. See




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Fed. R. Civ. P. 26(b)(2), (g)(1)(B). In response to Interrogatory Nos. 17-18, BYU-I

provided evidence that from 2013-2017 there were 208 reported violations of the sexual

misconduct policy. Of those, 162 investigations were conducted. Although these

numbers do not include the period between 2010 through 2012, BYU-I has not produced

any evidence that the number of incidents reported (then classified as “immoral conduct”)

was significantly higher. Therefore, the Court does not believe that, in light of the

relevance to Stevens’s cause of action, it is overly burdensome for BYU-I to produce

Title IX documents. Further, because the Family Educational Rights and Privacy Act

(“FERPA”) prohibits “releasing, or providing access to, any personally identifiable

information in education records” without the written consent of the student, a lawfully

issued subpoena, or a judicial order, see 20 U.S.C. § 1232g(b)(2), BYU-I shall redact all

“personally identifiable information,” as defined by 34 C.F.R. § 99.3.

       IT IS ORDERED that: (1) Stevens’s motion to hold Tami Staples in contempt

filed June 14, 2018 (Dkt. 90) is DENIED as moot; (2) BYU-I’s motion to compel

medical records filed August 6, 2018 (Dkt. 100) is GRANTED, in part; and (3) Stevens’s

motion to compel Title IX reports and investigations filed August 6, 2018 (Dkt. 101) is

GRANTED, in part. The Court: (1) orders Stevens (a) to disclose known medical

providers who diagnosed or treated Stevens for any mental or emotional condition at

issue in this case in response to BYU-I’s Interrogatory Nos. 34 and 41, and (b) to produce

any corresponding documents that have not already been obtained or produced in

response to BYU-I’s Request For Production of Documents No. 55; and (2) orders BYU-




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I (a) to disclose any Title IX investigation or report from January 2010 to present, which

involves misconduct between a faculty member or employee and a student in response to

Stevens’s Interrogatory Nos. 17 and 18, and (b) to produce any reports to BYU-I’s Title

IX office from January 2010 to present, which involves faculty or employee misconduct

with a student in response to Stevens’s Request for Production of Documents No. 18.


                                                 DATED: November 1, 2018


                                                 _________________________
                                                 David C. Nye
                                                 U.S. District Court Judge




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